   DEPARTMENT OF CORRECTIONS                                                                                         WISCONSIN
   Department of Adult Institutions                                                                            Administrative Code
   DOC-410 (Rev. 04/18)                                                                                          Chapter DOC 310


                                                  ICE RECEIPT
                                      COMPLAINT NUMBER WCI-2023-10120
                                         * * * ICRS CONFIDENTIAL * * *

        To: DREILING, ASHTON K. - #673642
            UNIT: _N-_B -- _B47-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351



        Complaint Information:
           Date Complaint Acknowledged:     07/10/2023
           Date Complaint Received:         07/05/2023
           Subject of Complaint:        1 - Staff

           Brief Summary:               claims staff ignored self harm claim

            This is to acknowledge the complaint you filed which was received on the date indicated. Depending on
            the nature of the complaint, you may or may not be interviewed by the ICE. A recommendation on the
            complaint will be made and submitted to the appropriate reviewing authority within 30 days of
            acknowledgement. A decision will be made by the appropriate reviewing authority within 15 days following
            receipt of the recommendation unless extended for cause.
                 Please write to the ICE if this issue is resolved before you receive an answer.




Print Date: July 12, 2023                                   Page 1 of 1                         Institution Complaint Examiner's Office
                                                     ** ICRS CONFIDENTIAL **
                                                                          EXHIBIT
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   DEPARTMENT OF CORRECTIONS                                                                                        WISCONSIN
   Department of Adult Institutions                                                                           Administrative Code
   DOC-401 (Rev. 04/18)                                                                                         Chapter DOC 310

                                                   ICE REPORT
                                      COMPLAINT NUMBER WCI-2023-10120
                                         * * * ICRS CONFIDENTIAL * * *

       To: DREILING, ASHTON K. - #673642
           112 N. 5th Ave
           Wausau, WI 54401




       Complaint Information:
          Date Complaint Acknowledged: 07/10/2023                                        Inmate Contacted? No

          Date Complaint Received:        07/05/2023
          Subject of Complaint:          1 - Staff

          Document(s) Relied Upon:       DOC 310

          Brief Summary:                 claims staff ignored self harm claim

          Summary of Facts:              TM Inmate claims that staff ignored he claims of self harm.

                                         At approximately 1:15pm on 6/24/23, inmate Dreiling had asked CO Prosper for
                                         supplies and she informed him she would get to them as soon as she could.
                                         When she went back up on range inmate Dreiling had lifted up his left arm and
                                         stated he was suicidal due to not getting supplies and had cut his wrist. CO
                                         Prosper then notified Sgt Reynolds and the lieutenant was notified. Inmate was
                                         then addressed by HSU and placed in observation.

                                         There is no evidence of staff ignoring his claims. As soon as staff were aware
                                         of is self harm he was addressed appropriately. Recommendation is for
                                         dismissal.

          ICE Recommendation:            Dismissed

          Recommendation Date:           08/22/2023




                                         T. Moon - Institution Complaint Examiner




Print Date: September 25, 2023                               Page 1 of 1                       Institution Complaint Examiner's Office
                                                      ** ICRS CONFIDENTIAL **
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   DEPARTMENT OF CORRECTIONS                                                                                        WISCONSIN
   Department of Adult Institutions                                                                           Administrative Code
   DOC-403 (Rev. 04/18)                                                                                        Chapter DOC 310

                                      REVIEWING AUTHORITY'S DECISION
                                      COMPLAINT NUMBER WCI-2023-10120
                                         * * * ICRS CONFIDENTIAL * * *

       To: DREILING, ASHTON K. - #673642
           112 N. 5th Ave
           Wausau, WI 54401




       Complaint Information:
          Date Complaint Acknowledged: 07/10/2023
          Date Complaint Received:         07/05/2023
          Subject of Complaint:            1 - Staff
          Brief Summary:                   claims staff ignored self harm claim
          ICE's Recommendation:            Dismissed
          Reviewer's Decision:             Dismissed

          Decision Date:                   09/23/2023




                                          R. Hepp - Warden

          A complainant dissatisfied with a decision may, within 14 days after the date of the decision, appeal that
          decision by filing a written request for review with the Corrections Complaint Examiner on form DOC-405
          (DOC 310.12, Wis. Adm. Code).




Print Date: September 25, 2023                                 Page 1 of 1                                         Reviewer's Office
                                                        ** ICRS CONFIDENTIAL **
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                                                                                                    GENERAL REPORT
                                                                                                      WCI-2023-10120
                                                State of Wisconsin
                                                  Department of Corrections
                               GENERAL REPORT ON INMATE COMPLAINT

        Complaint Information:
           Date Complaint Acknowledged:        July 10, 2023
              Date Complaint Received:         July 05, 2023
              Subject of Complaint:         1 - Staff

              Brief Summary:                claims staff ignored self harm claim

        ICE Recommendation Information:        (Signed on 8/22/23 2:29:55PM):
              Document(s) Relied Upon:      DOC 310
              ICE's Summary of Facts:       TM Inmate claims that staff ignored he claims of self harm.

                                            At approximately 1:15pm on 6/24/23, inmate Dreiling had asked CO Prosper
                                            for supplies and she informed him she would get to them as soon as she
                                            could. When she went back up on range inmate Dreiling had lifted up his left
                                            arm and stated he was suicidal due to not getting supplies and had cut his
                                            wrist. CO Prosper then notified Sgt Reynolds and the lieutenant was notified.
                                            Inmate was then addressed by HSU and placed in observation.

                                            There is no evidence of staff ignoring his claims. As soon as staff were aware
                                            of is self harm he was addressed appropriately. Recommendation is for
                                            dismissal.

              ICE's Recommendation:         Dismissed
              ICE's Recommendation Date: August 22, 2023

        RA's Decision Information:      (Signed on 9/23/23 5:24:18PM):
              RA's Decision:                Dismissed
              RA's Decision Date:           September 23, 2023




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                                                        ** ICRS CONFIDENTIAL **
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                                                                   State of Wisconsin
                                                                    Department of Corrections

                                                              DISTRIBUTION ITEMS
                                                      for COMPLAINT NUMBER WCI-2023-10120
       Item                           Create Date           Created By          Sent To            Inmate ID          Print Date             Printed By
ICE Receipt                    07/10/2023 3:44:38PM   Tonia Moon               WCI                   673642    07/12/2023 2:28:56PM   Brian Kolb
ICE Report                     09/23/2023 5:24:18PM   Randall Hepp             WCI                   673642    09/25/2023 1:04:41PM   Tonia Moon
RA Report                      09/23/2023 5:24:18PM   Randall Hepp             WCI                   673642    09/25/2023 1:04:41PM   Tonia Moon




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                                                      EXHIBIT
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